                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 DONALD DOTEY                                                    CIVIL ACTION
 VERSUS                                                          NO: 10-716
 TANGIPAHOA PARISH COUNCIL,                                      SECTION: "S" (1)
 ET AL.


                                   ORDER AND REASONS

       IT IS HEREBY ORDERED that Defendants’ Motion to Dismiss (Doc. #14) is

GRANTED. Plaintiff’s claims against Gordon A. Burgess, Jeff McKneely, Virginia Baker, and

Charles Fitz are DISMISSED WITH PREJUDICE. Further, plaintiff’s claim for punitive damages

against the Parish of Tangipahoa, misnamed as Tangipahoa Parish Council (the “Parish”), are

DISMISSED WITH PREJUDICE.

       IT IS FURTHER ORDERED that Defendants’ Motion for Summary Judgement (Doc. #15)

is GRANTED as to plaintiff’s disparate treatment claim against the Parish regarding the failure to

promote him to the position of permanent director of Tangipahoa Parish Animal Control (“TPAC”),

and that claim is DISMISSED WITH PREJUDICE. The motion is DENIED as to plaintiff’s

retaliation claim.
        IT IS FURTHER ORDERED that Defendants’ Motion in Limine to Preclude Plaintiff from

Testifying at Trial, or in the Alternative, to Compel Deposition, to Extend Discovery Deadline, and

to Continue Trial (Doc. #16) is DENIED as to precluding plaintiff from testifying at trial, and

GRANTED, as to compelling plaintiff’s deposition, extending the discovery deadline, and

continuing the trial. Plaintiff is hereby ORDERED TO APPEAR at a properly noticed deposition

on a date agreed upon by the parties. Further, the trial of this matter is CONTINUED. A

scheduling conference will be conducted by the courtroom deputy on February 18, 2011, at 10:30

a.m., to choose new dates and deadlines, including a new discovery deadline and a new deadline for

filing witness and exhibit lists. The court will initiate the call.

        IT IS FURTHER ORDERED that Defendants’ Motion in Limine to Exclude Plaintiff from

Introducing Any Witnesses or Exhibits at Trial (Doc. #23) is DENIED.

                                          BACKGROUND

        Plaintiff, Donald Dotey, is a 61-year-old African American male. He began his employment

with the Parish in 2004. In December 2007, he became interim director of TPAC. Plaintiff applied

for the permanent position of director of TPAC, but withdrew his application before the director was

selected.

        In October 2008, Charles Fitz was hired as the director of TPAC. Plaintiff became a humane

investigator, a position that was created for him. Plaintiff was also the lead certified animal

euthanasia technician (“CAET”) and an animal control officer. As the lead CAET, plaintiff held a

licence from the United States Drug Enforcement Administration (“DEA”), and was in charge of

all drugs used in TPAC’s daily operations.


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       In February 2009, plaintiff filed grievances with the Parish regarding his not being hired as

the permanent director of TPAC, and a salary disparity. Thereafter, plaintiff also filed a grievance

regarding the application of the grievance procedure.

       Plaintiff threatened to, and eventually did, surrender his licences as lead CAET to the DEA,

which caused a lock down of the drugs used by the TPAC in its daily operations and disrupted its

activities. Further, defendants claim that plaintiff refused to inventory the drugs and refused to

perform euthanasia after being requested to do so.          In July 2009, plaintiff was fired for

insubordination.

       In October 2009, plaintiff filed a complaint with the United States Equal Employment

Opportunity Commission alleging race discrimination, age discrimination, and retaliation.

Specifically, he alleged that he was denied a promotion to permanent director of TPAC and that he

was paid less for doing the same job. On March 1, 2010, plaintiff filed this suit alleging race

discrimination in the failure to promote him, and that he was fired in retaliation for his filing

grievances. Plaintiff named as defendants: the Parish; the Parish President, Gordon A. Burgess; the

Parish Assistant Finance Director, Jeff McKneeley; the Parish Personnel Director, Virginia Baker;

and, the Parish Director of Animal Control, Charles Fitz.

                                           ANALYSIS

A.     Defendants’ Motion to Dismiss

       Defendants filed a motion to dismiss pursuant to Rule 12(c) of the Federal Rules of Civil

Procedure. Defendants argue that plaintiff does not have a cause of action against Burgess,




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McKneeley, Baker, and Fitz under Title VII because they were not his employers. Also, defendants

moved to dismiss plaintiff’s punitive damage claims against the Parish.

       1.      Rule 12(c) Standard

       Rule 12(c) of the Federal Rules of Civil Procedure provides that a party may move for

judgment on the pleadings after the pleadings are closed, but early enough not to delay trial. “The

standard for dismissal under Rule 12(c) is the same as that for dismissal for failure to state a claim

under Rule 12(b)(6).” Chauvin v. State Farm & Cas. Co., 495 F.3d 232, 237 (5th Cir. 2007). “To

survive a Rule 12(b)(6) motion to dismiss, the plaintiff must plead “enough facts to state a claim to

relief that is plausible on its face.” In re Katrina Canal Breaches Litigation, 495 F.3d 191, 205 (5th

Cir. 2007) (quoting Bell Atlantic v. Twombly, 127 S.Ct. 1955, 1964-65 & 1973 n.14 (2007)).

“Factual allegations must be enough to raise a right to relief above the speculative level, on the

assumption that all the allegations in the complaint are true (even if doubtful in fact).” Id. at 1965.

The district court may not look beyond the pleadings, but the court may refer to documents attached

to the complaint. See Hicks v. Parker, 2009 WL 2762302 (5th Cir. 2009).

       2.      Title VII - Employer

       Under Title VII, it is unlawful for an employer “to fail or refuse to hire or to discharge any

individual, or otherwise to discriminate against any individual . . . Because of such individual’s

race, color, religion, sex or national origin.” 42 U.S.C. § 2000e-2(a). An “employer” is defined as

“a person engaged in an industry affecting commerce who has fifteen or more employees for each

working day in each of twenty or more calendar weeks in the current or preceding calendar year, and

any agent of such a person. . .” Id. at § 2000e(b). “Relief under Title VII is available only against


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an employer, not an individual supervisor or fellow employee.” Foley v. Univ. of Houston Sys., 355

F3d 333, 340 n. 8 (5th Cir. 2003).

       Plaintiff was employed by the Parish, which is governed by a Home Rule Charter, controlled

by a President and Council. LA. CONST. ART. VI, § 5. Burgess, McKneeley, Baker, and Fitz were

not plaintiff’s employers, but rather his supervisors or fellow employees. Therefore, plaintiff does

not have a cause of action against them under Title VII, and plaintiff’s claims against them are

DISMISSED WITH PREJUDICE. See Arnolie v. Orleans Sch. Bd., 48 Fed. Appx. 917 (5th Cir.

2001), 2002 WL 31115131.

       3.      Punitive Damages

       Plaintiff asserts a claim for punitive damages against the Parish. Pursuant to 42 U.S.C. §

1981a(b)(1), punitive damages are not recoverable against a government, government agency, or

political subdivision in a Title VII action. See also Chaney v. New Orleans Pub. Facility Mgmt.,

1997 WL 685351, at *1 (E.D.La. 11/4/97) (“Congress has clearly provided that punitive damages

are not available from a governmental entity under Title VII.”). The Parish is a political subdivision

of the State of Louisiana. Therefore, plaintiff’s claim for punitive damages against the Parish is

DISMISSED WITH PREJUDICE.

B.     Defendants’ Motion for Summary Judgment

       Plaintiff alleges that he was discriminated against in is employment because he was not

promoted to the position of permanent director of TPAC and that he was retaliated against for filing

grievances concerning race discrimination.




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        In McDonnell Douglas Corp. v. Green, 93 S.Ct. 1817 (1973), the Supreme Court of the

United States “established an allocation of the burden of production and an order for the presentation

of proof in Title VII discriminatory-treatment cases.” First, the plaintiff must establish a prima facie

case of discrimination. The elements of a plaintiff’s prima facie case vary according to the facts of

the case and the nature of the claim. See LaPierre v. Benson Nissan, Inc., 86 F.3d 444, 448, n. 3 (5th

Cir.1996). “Establishment of the prima facie case in effect creates a presumption that the employer

unlawfully discriminated against the employee.” Texas Dep’t of Community Affairs v. Burdine,101

S.Ct. 1089, 1094 (1981). The burden then shifts to the defendant to produce a legitimate,

nondiscriminatory reason for the conduct. See Reeves v. Sanderson Plumbing Products, Inc., 120

S.Ct. 2097, 2106 (2000). This burden is one of production, not persuasion and involves no

credibility assessment. Id. If the defendant meets the burden, the presumption raised by the

plaintiff’s prima facie case disappears. Once the employer produces sufficient evidence to support

a nondiscriminatory explanation, the plaintiff is given an “opportunity to prove by a preponderance

of the evidence that the legitimate reasons offered by the defendant were not its true reasons, but

were pretext for discrimination.” Id. (internal quotation and citation omitted). The ultimate burden

of persuading the trier of fact that there was intentional discrimination and that the professed reason

was not the true reason remains with the plaintiff. Id. “[A]lthough the presumption of discrimination

drops out of the picture once the defendant meets its burden of production, the trier of fact may still

consider the evidence establishing the plaintiff’s prima facie case and inferences properly drawn

therefrom . . . on the issue of whether the defendant’s explanation is pretextual.” Id. (internal

quotation and citation omitted).


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       1.      Plaintiff’s Disparate Treatment Claim

       Employment actions that treat one employee less favorably than others based on the

employee’s race may give rise to disparate treatment claims. Pacheco v. Mineta, 448 F.3d 783, 788

(5th Cir. 2006). “In order to establish a prima facie case of discrimination on the basis of race or

sex, a plaintiff must show he or she was: (1) a member of a protected class; (2) qualified for the

position held; (3) subject to an adverse employment action; and (4) treated differently from others

similarly situated [of a different race or sex].” Abarca v. Metropolitan Transit Authority, 404 F.3d

938, 941 (5th Cir.2005); Jones v. Overnite Transp. Co., 212 Fed. Appx. 268, 272-73 (5th Cir.2006).

Only “ultimate employment decision” are actionable adverse employment actions that give rise to

a disparate treatment claim. McCoy v. City of Shreveport, 492 F.3d 551, 556 (5th Cir. 2007).

Ultimate employment decisions include “hiring, granting leave, discharging, promoting, and

compensating.” Id. at 559-60.

       Plaintiff alleges that the Parish did not hire him as the permanent director of TPAC because

of his race. Plaintiff is part of a protected class, and was subjected to the adverse employment action

of not being hired. However he has not established a prima facie case of disparate treatment because

he has not shown that he was qualified for the position. Further, the Parish has shown, and plaintiff

does not dispute, that it had a legitimate, non-discriminatory reason for not hiring plaintiff as the

permanent director of TPCA, namely that plaintiff withdrew his application for the position.

Therefore, defendants’ motion for summary judgement regarding plaintiff’s claim for disparate

treatment race discrimination for not being hired as the permanent director of TPAC is GRANTED,

and that claim is DISMISSED WITH PREJUDICE.


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       2.      Plaintiff’s Retaliation Claim

       Section 704(a) of Title VII prohibits an employer from discriminating against any employee

because the employee has made a charge under Title VII. 42 U.S.C. § 2000e-3(a). The court applies

the McDonnell Douglas Corp, 93 S.Ct. 1817 (1973), evidentiary framework from Title VII cases

to claims of retaliation. Aldrup v. Caldera, 274 F.3d 282, 286 (5th Cir. 2001). To establish a prima

facie case of Title VII retaliation, the plaintiff must show that: (1) he engaged in an activity

protected by Title VII; (2) he suffered an adverse employment action; and (3) a causal link existed

between the protected activity and the adverse action. Aryain v. Wal-Mart Stores Texas LP, 534

F.3d 473, 484 (5th Cir. 1008). A plaintiff must demonstrate that the adverse employment action

would not have occurred “but for” plaintiff’s protected activity. Septimus v. Univ. of Houston, 399

F.3d 601, 608 (5th Cir. 2005). A plaintiff who is unable to show a prima facie case cannot survive

a summary judgment challenge as to the Title VII claims. Byers v. Dallas Morning News, Inc., 209

F.3d 419, 429 (5th Cir. 2000).

       “If the plaintiff makes a prima facie showing, the burden then shifts to the employer to

articulate a legitimate ... non-retaliatory reason for its employment action. If the employer meets

this burden of production, the plaintiff then bears the burden of proving that the employer’s reason

is a pretext for the actual retaliatory reason.” Aryain, 534 F.3d at 484.

       “The timing of the adverse employment action can be a significant, although not necessarily

determinative, factor” to establish the requisite nexus. Mayberry v. Vought Aircraft Co., 55 F.3d

1086, 1092 (5th Cir. 1995). However, “temporal proximity alone is insufficient to prove “but for”

causation.” Strong v. Univ. Healthcare Sys., LLC, 482 F.3d 802, 808 (5th Cir. 2007).


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        Plaintiff alleges that the Parish retaliated against him by firing him after he filed a grievance

regarding not being hired as the permanent director of TPAC and a salary disparity. Plaintiff alleges

that he filed the grievance on February 5, 2009, and that he was fired one week prior to the hearing

date which was scheduled for July 13, 2009. Plaintiff has alleged a prima facie case of retaliation.

The Parish claims that plaintiff was fired for the legitimate, non-discriminatory reason of

insubordination. The Parish has submitted affidavits in support of its argument. However, plaintiff

has not been deposed due to a miscommunication, and is proceeding pro se. Without plaintiff’s

testimony regarding the alleged retaliation, the court cannot determine whether his alleged

insubordination was a pretext, and defendant’s motion for summary judgment is DENIED as to

plaintiff’s retaliation claim against the Parish.

C.      Defendants’ Motion in Limine to Preclude Plaintiff from Testifying at Trial, or in the
        Alternative, to Compel Deposition, to Extend Discovery Deadline, and to Continue
        Trial

        Defendants filed a motion in limine seeking to preclude plaintiff from testifying at trial, or

alternatively, to compel his deposition, extend the discovery deadline and continue the trial.

Plaintiff’s deposition was scheduled for December 27, 2010. On December 20, 2010, defense

counsel told plaintiff via telephone that the deposition might have to be rescheduled. Plaintiff

understood that the noticed December 27, 2010, deposition was cancelled, and that it would be

rescheduled. Defense counsel did not reschedule the deposition, and plaintiff did not appear on

December 27, 2010. It appears that there was a miscommunication, not that plaintiff intentionally

failed to appear for the depositon. Therefore, defendant’s motion is GRANTED as to compelling




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plaintiff’s deposition, extending the discovery deadline, and continuing the trial, and DENIED as

to precluding plaintiff from testifying at trial.

D.      Defendants’ Motion in Limine to Exclude Plaintiff from Introducing Any Witnesses or
        Exhibits at Trial

        Defendants’ filed a motion in limine seeking to exclude plaintiff from introducing any

witnesses or exhibits at trial because plaintiff failed to timely file a witness and exhibit list. Because

the trial is continued and all dates and deadlines will be resent, the motion is DENIED.

                                           CONCLUSION

        IT IS HEREBY ORDERED that Defendants’ Motion to Dismiss (Doc. #14) is

GRANTED. Plaintiff’s claims against Burgess, McKneely, Baker, and Fitz are DISMISSED

WITH PREJUDICE. Further, plaintiff’s claim for punitive damages against the Parish are

DISMISSED WITH PREJUDICE.

        IT IS FURTHER ORDERED that Defendants’ Motion for Summary Judgement (Doc. #15)

is GRANTED as to plaintiff’s disparate treatment claim against the Parish regarding the failure to

promote him to the position of permanent director of TPAC, and that claim is DISMISSED WITH

PREJUDICE. The motion is DENIED as to plaintiff’s retaliation claim.

        IT IS FURTHER ORDERED that Defendants’ Motion in Limine to Preclude Plaintiff from

Testifying at Trial, or in the Alternative, to Compel Deposition, to Extend Discovery Deadline, and

to Continue Trial (Doc. #16) is DENIED as to precluding plaintiff from testifying at trial, and

GRANTED, as to compelling plaintiff’s deposition, extending the discovery deadline, and

continuing the trial. Plaintiff is hereby ORDERED TO APPEAR at a properly noticed deposition



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on a date agreed upon by the parties. Further, the trial of this matter is CONTINUED. A

scheduling conference will be conducted by the courtroom deputy on February 18, 2011, at 10:30

a.m., to choose new dates and deadlines, including a new discovery deadline and a new deadline for

filing witness and exhibit lists. The court will initiate the call.

        IT IS FURTHER ORDERED that Defendants’ Motion in Limine to Exclude Plaintiff from

Introducing Any Witnesses or Exhibits at Trial (Doc. #23) is DENIED.



                                      20th day of January, 2011.
        New Orleans, Louisiana, this _____



                            ____________________________________
                                 MARY ANN VIAL LEMMON
                             UNITED STATES DISTRICT JUDGE




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